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11                        UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
12

13
     ALMA MORANSANTELIZ, an                 )Case No: 8:20-cv-02210 DOC-
14   individual,                            )(KESx)
                                            )
15                     Plaintiff,           )Dist. Judge: David O. Carter
     vs.                                    )Mag. Judge: Karen E. Scott
16                                          )Courtroom 9D
     FORD MOTOR COMPANY, A                  )
17   Delaware Corporation; and              )
     DOES 1 through 20,                     )
18   inclusive                              )    JUDGMENT
                                            )
19                      Defendants.         )
                                            )
20

21

22
           On the stipulation of Plaintiff Alma Moransanteliz
23
     (“Plaintiff”) and Defendant Ford Motor Company
24
     (“Defendant”), and good cause showing, it is hereby ORDERED
25
     AND ADJUDGED AS FOLLOWS:
26
           1.    Plaintiff ALMA MORANSANTELIZ (“Plaintiff”), will
27
     surrender the 2017 Ford Escape, VIN 1FMCU0J92HUB61058
28


                                              1
     ___________________________________________________________________________________
                                         JUDGMENT
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 1   (“Subject Vehicle”), with clear title, free and clear of
 2   all liens and encumbrances, other than any outstanding loan
 3   amounts, which Ford will discharge by payment from the
 4   proceeds of the settlement that Plaintiff accepts pursuant
 5   to this offer. In light of the national pandemic due the
 6   Novel Coronavirus (COVID-19), Plaintiff will deliver the
 7   subject vehicle to Ford on a date, time and place mutually
 8   agreeable no later than 90 days after the entry of
 9   Judgment.
10         2.    Ford will pay Plaintiff ALMA MORANSANTELIZ
11   (“Plaintiff”) $40,476.48 for the Subject Vehicle. Ford will
12   pay this amount within seven (7) days after Plaintiff
13   delivers the Subject Vehicle to Ford.
14         3.    In addition Ford Motor Company offers to pay
15   reasonable costs, expenses and attorneys’ fees based on
16   actual time expended pursuant to Civil Code section
17   1794(d), in the amount of $8,500.
18         4.    Ford will waive all claims it may have for costs
19   and fees in this action.
20         5.    The Court shall maintain continuing jurisdiction
21   over this action and the parties for the purpose of
22   enforcing this Judgment and for the purpose of enforcing
23   the parties’ Settlement Agreement.
24         IT IS SO ORDERED.
25

26   Date: January 20, 2021
27                                       Honorable David O. Carter
                                         United States District Judge
28


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     ___________________________________________________________________________________
                                         JUDGMENT
